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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF KENTUCKY
NORTHERN DIVISION AT COVINGTON

NICHOLAS SANDMANN, by and ; CASE NO. 19-CV-00056-WOB-CJS
through his parents and natural guardians, :

TED SANDMANN and JULIE

SANDMANN,

Plaintiff,
Vv.
NBCUNIVERSAL MEDIA, LLC

Defendant.

NICHOLAS SANDMANN, by and : CASE NO. 20-CV-00023-WOB-CJS
through his parents and natural guardians, :

TED SANDMANN and JULIE

SANDMANN,

Plaintiff,
V.

THE NEW YORK TIMES COMPANY
d/b/a THE NEW YORK TIMES

Defendant.

NICHOLAS SANDMANN, by and : CASE NO. 20-CV-00024-WOB-CJS
through his parents and natural guardians, :
TED SANDMANN and JULIE
SANDMANN,
Plaintiff,
v.

CBS NEWS, INC., et al.

Defendants.

4848-2114-1245v.3 001991 8-000075
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NICHOLAS SANDMANN, by and ; CASE NO. 2:20-CV-00025-WOB-CJS
through his parents and natural guardians, :

TED SANDMANN- and = JULIE

SANDMANN,

Plaintiff,
Vv.
ABC NEWS, INC., et al.

Defendants.

NICHOLAS SANDMANN, by and : CASE NO. 2:20-CV-00026-WOB-CJS
through his parents and natural guardians, :

TED SANDMANN and = JULIE

SANDMANN,

Plaintiff,
Vv.

GANNETT CO., INC. AND GANNETT
SATELLITE INFORMATION
NETWORK, LLC,

Defendants.
NICHOLAS SANDMANN, by and : CASE NO. 2:20-CV-00027-WOB-CJS
through his parents and natural guardians, :

TED SANDMANN and JULIE
SANDMANN,

Plaintiff,
Vv.
ROLLING STONE, LLC, et al.

Defendants.
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DECLARATION OF ALVARO ANDRADE

1. My name is Alvaro Andrade. I make this Declaration from personal knowledge
and am competent to testify to the facts stated herein. I reside in Manasquan, New Jersey.

2. I work as installer for an architectural mill. I am also a musician and on weekends
I often perform music from indigenous cultures.

3. Iam the individual pictured in this image wearing a red American Indian Movement

hat:

 

4. On January 18, 2019, I participated in the Indigenous Peoples March, an event
organized by the Indigenous Peoples Movement, in Washington, D.C. I understood it to bea
gathering of indigenous people aimed at raising awareness of issues we face.

5. On the day of the March, I drove alone from New Jersey to Washington, D.C. and
arrived during the events of the March. While the March’s participant were gathered near the
Lincoln Memorial, I saw a small group of Black men gathered in the area. Some were saying

derogatory things about Native Americans. I could tell that they were part of a group that call
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themselves the Black Hebrew Israelites. I was generally familiar with the Black Hebrew Israelites
group from seeing members speaking on the streets in New York City, and I had seen how other
members of the group could be derogatory and aggressive in their language.

6. At some point in the late afternoon before the Indigenous Peoples March had
finished, I needed to return to my car to fill up the parking meter, which was some distance away.
By the time I returned to the Lincoln Memorial area, nearly all of the participants in the Indigenous
Peoples March had left. At that point, I saw a large group of white teenagers who appeared to me
to be students gathered on the steps, and it looked to me like they were in a face-off with the Black
Hebrew Israelites, both verbally and using physical gestures like clenching their fists. The students
were chanting, but I could not really tell what they were saying.

i As I watched, it appeared to me that the group of teenagers grew larger. They vastly
outnumbered the Black Hebrew Israelites and were behaving more aggressively towards them. I
felt that it was a very tense situation, and it had the potential to explode into something more
dangerous. This perception was informed by my own childhood in Queens, New York, where I
had seen violence quickly erupt when groups of white individuals outnumbered those of other
racial backgrounds in tense situations. I was worried about how the students might react if one of
the Black Hebrew Israelites made a wrong move. It seemed to me like the whole situation just
needed one spark to detonate.

8. I saw a man who was obviously elder to me standing nearby, who I did not know,
who was also watching the same situation. I now know him to be Nathan Phillips. He said
something to the effect of someone should do something about what was happening. So I
approached him and suggested that he drum and sing to try to bring some calm to the situation.

Song in many indigenous cultures and religions is an important way to bring healing and calm,
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and especially as a musician myself, that felt like a natural response to the confrontation I was
witnessing. As an elder, Mr. Phillips seemed to me to be a natural person to do that.

9. Mr. Phillips started singing the American Indian Movement Song, a well-known
song in Native American culture that is often performed to promote peace and unity. There was
another man there wearing a white hat who had a drum and joined Mr. Phillips. I did not know
him. I later learned that his name is Marcus Frejo.

10. Thad a video camera with me, and after Mr. Phillips started singing I began to film
what was happening. I did that because it seemed like an experience I wanted to record for myself.
I recorded video that I understand has been labeled Video 17 in this case. I never posted that video
on social media or any other public platform. I have since read that Mr. Sandmann has claimed .
that Mr. Phillips brought a cameraman with him when he approached the students. To my
knowledge that is simply false. Mr. Phillips did not ask me to record anything, nor did I hear him
ask anyone else to record anything.

11. After singing in place for a couple of minutes, Mr. Phillips began moving toward
the Black Hebrew Israelites and the students. Mr. Phillips did not ask me, nor to my knowledge
anyone else to join him. Because Mr. Phillips was an elder, and in my culture elders are to be
respected and followed, I followed him. I assumed that he wanted to get closer to the students to
try to calm them down, which seemed to me to be a courageous thing to do. As Mr. Phillips
approached the students there were other people who were already in the area who went behind
him as well, but I did not know any of them. I continued to film for myself, and eventually stopped -
when the battery on my video camera ran out.

“12. When Mr. Phillips stopped in front of the crowd of students, many began cheering,

laughing, and some were moving their arms in what looked to me like a motion imitating a
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tomahawk chop. To me this was mocking Mr. Phillips and Native American culture. It seemed.
to me like students were looking at Mr. Phillips and other indigenous persons there with ridicule.
The behavior of many of the students seemed to me like a very inappropriate way to treat any
Native American, and especially an elder.

13. At one point it seemed to me like Mr. Phillips was trying to move forward, and
students were stepping out of this way to let him pass through the crowd. I did not know where
he intended to go, but I started to move forward as well to follow him. As Mr. Phillips walked
forward, I noticed that one student seemed to me to intentionally stand in front of Mr. Phillips, and
then remained there in his path. I later learned that student was Nicholas Sandmann. Other
students behind Mr. Sandmann moved out of the way to create an open space, but Mr. Sandmann
did not. From my perspective, it looked like Mr. Sandmann blocked Mr. Phillips, and to me it still.
does.

14. ‘I heard students continue to taunt and jeer while Mr. Phillips and Mr. Sandmann
were facing each other, and I became increasingly upset by that. At one point I got into an
argument with one of the students. While I was talking with the student, Mr. Frejo asked me to
stop engaging with him. If I could relive those moments again, I would not say anything to the
student. At the same time, I feel that I had integrity in expressing my views in the face of what I
felt was very disrespectful and demeaning behavior by students. The views I expressed to the
student reflected my beliefs that historically indigenous persons throughout the Americas have
been the victims of genocide and mass eviction from our ancestral lands, and that to this day Native
Americans are denied basic rights to govern themselves as tribal nations. J also felt strongly, and-
still do, that the “Make America Great Again” slogan many of the students were wearing on their

hats éxpresses a view of America that is demeaning to Native Americans and other minority races.
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15. Shortly after that, an adult came over and the students started to disperse, including
Mr. Sandmann. I said to the adult, “We had a demonstration here, and then you come here, and
you do this.” By the “demonstration,” I was referring to the Indigenous Peoples March, and the
fact that it had a permit to be on the Lincoln Memorial. I was expressing my frustration that after
what I thought had been a very peaceful and positive event, the students caused a disruption with
their behavior.

16. After the students began leaving, I exchanged some more words with the man I
later learned was Mr. Frejo. He seemed concerned that Mr. Phillips not be left alone. I told him
several times “I got him,” referring to Mr. Phillips, and “we’re not alone,” to assure Mr. Frejo I
would stay there with Mr. Phillips to protect him.

17. I believed then, and J still do, that because of Mr. Phillips’s drumming and singing
the crowd of students eventually calmed down and disbursed peacefully. I felt that I and others
who were there had just experienced a deeply spiritual moment and felt the power of what song in
indigenous culture could accomplish, and that was something worth celebrating. So I said “we
won Grandpa” because I felt that Mr. Phillips and the few people that had followed his lead had
succeeded in getting the students to stop their aggressive behavior and depart peacefully. I
referred to Mr. Phillips as “Grandpa” as a term of respect and endearment for his position as an
elder. That is a common way to address elders in the culture in which I was raised.

18. After the conclusion of the incident, I stayed with Mr. Phillips in the Lincoln
Memorial area, as I had told Mr. Frejo that I would. That night, I left Washington, D.C. and
returned home.

19. [have read and seen that Mr. Sandmann and his lawyers claim that Mr. Phillips and

other Native Americans there got together to plan some kind of political publicity stunt to create a
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confrontation with the students and capture it on video, and that is why Mr. Phillips and others
approached them. Those allegations are just false. I did not know Mr. Phillips, Mr. Frejo, or
anyone else who may have eventually followed behind Mr. Phillips. The only thing that I recall
saying to Mr. Phillips before he approached the students was to suggest that he use a drum to sing.

I affirm under the penalties of perjury that the foregoing is true and correct, to the best

of my knowledge.

Dated: November 21, 2021 OO OVO Cate

Alvaro Andrade
